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                       Exhibit 19
        FILED UNDER SEAL
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                                                                     Page 1
                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA

          IN RE: XARELTO                 )   MDL No. 2592
          (RIVAROXABAN)                  )
          PRODUCTS LIABILITY             )   SECTION:     L
          LITIGATION                     )
                                         )   JUDGE ELDON E.
                                         )   FALLON
          THIS DOCUMENT RELATES          )
          TO ALL CASES                   )   MAG. JUDGE NORTH


                      FRIDAY, DECEMBER 2, 2016

                                   – – –

                   Videotaped deposition of Phillip
         Cuculich, M.D., held at the offices of
         SCHLICHTER, BOGARD & DENTON, L.L.P., 100
         South Fourth Street, Suite 1200, St. Louis,
         Missouri, commencing at 9:03 a.m., on the
         above date, before Carrie A. Campbell,
         Registered Diplomate Reporter, Certified
         Realtime Reporter, Illinois, California &
         Texas Certified Shorthand Reporter, Missouri
         & Kansas Certified Court Reporter.
                             – – –

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             Golkow Technologies, Inc.
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                                   – – –
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                                                                  Page 110
   1     reasons.     They have a mother who had been on
   2     warfarin, they saw how difficult it was for
   3     her to manage it, and they don't want to go
   4     down that road.        Or they don't like the
   5     testing that's associated with warfarin.
   6                      So these are all very
   7     individualized decisions with regards to
   8     which medication and how to take it.
   9             Q.       But for those patients that say
  10     to you, "I'm going to choose Xarelto over
  11     warfarin," do you recommend against taking
  12     Xarelto?
  13             A.       No.    If we go through the
  14     choices and that's the choice that they would
  15     like to have, I'm comfortable with that.
  16             Q.       You're still comfortable
  17     prescribing Xarelto to particular patients,
  18     correct?
  19                      MR. MCWILLIAMS:        Object to
  20             form.
  21                      THE WITNESS:       We have
  22             discussions about the risks and the
  23             benefits of each of these
  24             anticoagulants.       And when I talk to my
  25             patients and counsel my patients in



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                                                                  Page 111
   1             clinic, when we get to choosing the
   2             novel anticoagulants, several patients
   3             want to know, "Well, which one is
   4             better or which one is more risky or
   5             which one would you recommend?"             These
   6             are the questions that do come up.
   7                      So, you know, in those
   8             situations I don't recommend Xarelto
   9             as a first-line option.          I think I've
  10             made that clear.
  11                      When patients come to me after
  12             having those discussions and hearing
  13             all of the risks and benefits and they
  14             still say, "I want something that's
  15             once a day, that works better for my
  16             personality," you know, then they've
  17             thought about the risks and benefits,
  18             and I'm comfortable with giving them
  19             that medicine.
  20     QUESTIONS BY MS. DU PONT:
  21             Q.       And that medicine is Xarelto?
  22             A.       Correct.
  23             Q.       You say in your report that at
  24     trial you may refer to examples of personal
  25     experience of patients who have asked you



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                                                                  Page 136
   1             any effect, because we don't have that
   2             data.
   3                      But we do know that when this
   4             medication was brought -- was being
   5             brought to market, it was studied as a
   6             twice-a-day drug.        When it is brought
   7             to -- very important times when we
   8             need to have excellent coverage,
   9             consistent coverage across 24 hours,
  10             such as for treatment of pulmonary
  11             embolism, high-stakes-type situations,
  12             this is dosed as a twice-a-day drug.
  13                      So it is available as
  14             twice-a-day dosing.
  15     QUESTIONS BY MS. DU PONT:
  16             Q.       But there's no evidence in a
  17     randomized clinical trial that once daily
  18     versus twice daily has any effect, correct?
  19             A.       Again, let's be specific about
  20     for atrial fibrillation, because we do have
  21     twice-daily dosing for other indications.
  22                      For the indication of stroke
  23     prevention in atrial fibrillation, we have no
  24     data on twice-daily versus once-daily dosing
  25     at this point.



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                                                                    Page 196
   1                      MR. MCWILLIAMS:        Do you mean to
   2             say "reagent" or "region"?
   3                      MS. DU PONT:       Reagent, sorry.
   4     QUESTIONS BY MS. DU PONT:
   5             Q.       Different reagents that can
   6     affect the length of time it takes for blood
   7     to clot?
   8             A.       That's my understanding as
   9     well.
  10             Q.       And the same blood sample
  11     tested with different reagents can have
  12     different PT times, right?
  13             A.       That's my understanding.           That
  14     forms the basis for warfarin use in a
  15     standardized INR, the normalized ratio.
  16             Q.       But INR is specific to
  17     warfarin, right?
  18             A.       Correct.
  19             Q.       It doesn't work properly when
  20     you try to apply it to the NOACs?
  21             A.       That's my understanding, but I
  22     think that has to do with particular use of
  23     one PT that seems to be best and most
  24     specific for this.
  25                      The INR helps bring in multiple



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                                                                  Page 197
   1     different kinds of PTs through different
   2     reagents and apply it to a more universal
   3     result.
   4                      We don't have that kind of
   5     universal result with rivaroxaban.              The
   6     closest thing we have is -- from my reading
   7     of this is the Neoplastin PT.
   8             Q.       That's just one specific
   9     reagent?
  10             A.       That's correct.
  11             Q.       That your hospital does not
  12     use?
  13             A.       That's correct.
  14             Q.       Now, you say that rivaroxaban
  15     seems to have at least moderate interpatient
  16     variability, right?
  17             A.       Yes.
  18             Q.       You also say that it has wide
  19     interpatient variability, right?
  20             A.       Show me where that was said.
  21             Q.       Page 18.
  22             A.       Just so I can understand the
  23     context behind it.
  24             Q.       It's on the first -- or the
  25     second paragraph on page 18.



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                                                                   Page 227
    1            previously how we've been able to
    2            correlate the high concentrations of
    3            rivaroxaban in the blood with higher
    4            rates of PT.
    5                      As I show in Figure 6 on
    6            page 20 of my report that -- we've
    7            looked at this before.          And it's
    8            fairly clear, I think, that you can
    9            connect all of those things to say
   10            elevated PTs equal elevated risks of
   11            bleeding.
   12    QUESTIONS BY MS. DU PONT:
   13            Q.        The opinion that you have that
   14    PT is a reliable test for identifying Xarelto
   15    patients at the highest risk of bleeding, you
   16    haven't published that opinion, correct?
   17            A.        No, that's correct.         Of all of
   18    the tests that had been looked at or had been
   19    studied, the one that seems to be closest in
   20    terms of its ability to predict levels of
   21    rivaroxaban in the blood or seems to be most
   22    closely correlated, as we've talked about, is
   23    the Neoplastin PT.         It's the one that is
   24    particularly mentioned in publications as
   25    well as in FDA product labels.             So that would



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                                                                   Page 230
    1    asked.
    2                      I'm asking:      Does the FDA
    3    currently recommend or require PT testing for
    4    Xarelto?
    5                      MR. MCWILLIAMS:       Object to
    6             form.
    7                      THE WITNESS:      Right.
    8                      It does not require it, and it
    9             has -- you know, it has mentioned in
   10             the internal discussions with the
   11             FDA -- again, I'm not sure if you
   12             shared it with me on Exhibit 6.
   13                      Let me see.      One moment.
   14                      No.   I don't think you gave it
   15             to me.
   16                      The medical review does talk
   17             about the use of PT as a potential way
   18             to understand the effect.
   19    QUESTIONS BY MS. DU PONT:
   20             Q.       The FDA medical review does
   21    not, however, recommend the use of PT for
   22    Xarelto, correct?
   23             A.       That's what I said, and I agree
   24    to that portion of the statement, yes.
   25             Q.       No professional medical



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                                                                   Page 231
    1    societies have issued medical practice
    2    guidelines that recommend or require PT
    3    testing for Xarelto, correct?
    4             A.        That's correct.      None that I
    5    know of.
    6             Q.        And you're not aware of any
    7    regulatory authority that has concluded that
    8    PT is reliable to measure the degree of
    9    Xarelto anticoagulation, are you?
   10                       MR. MCWILLIAMS:      Object to
   11             form.     Asked and answered.        Misstates
   12             the evidence.
   13                       THE WITNESS:     Well, I do think
   14             that it is reliable, but it's not
   15             recommended in other advisory councils
   16             and things like that.
   17    QUESTIONS BY MS. DU PONT:
   18             Q.        So you're aware of no
   19    regulatory authority that has recommended the
   20    use of Xarelto as a monitoring agent --
   21    sorry.        Let me withdraw that.
   22                       You're not aware of any
   23    regulatory authority that has recommended the
   24    use of PT to monitor Xarelto, correct?
   25             A.        Correct.



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                                                                   Page 349
    1                           CERTIFICATE
    2
    3               I, CARRIE A. CAMPBELL, Registered
         Diplomate Reporter, Certified Realtime
    4    Reporter and Certified Shorthand Reporter, do
         hereby certify that prior to the commencement
    5    of the examination, Phillip Cuculich, M.D.
         was duly sworn by me to testify to the truth,
    6    the whole truth and nothing but the truth.
    7               I DO FURTHER CERTIFY that the
         foregoing is a verbatim transcript of the
    8    testimony as taken stenographically by and
         before me at the time, place and on the date
    9    hereinbefore set forth, to the best of my
         ability.
   10
                    I DO FURTHER CERTIFY that I am
   11    neither a relative nor employee nor attorney
         nor counsel of any of the parties to this
   12    action, and that I am neither a relative nor
         employee of such attorney or counsel, and
   13    that I am not financially interested in the
         action.
   14
   15
   16
                 ____________________________
   17            CARRIE A. CAMPBELL,
                 NCRA Registered Diplomate Reporter
   18            Certified Realtime Reporter
                 California Certified Shorthand
   19            Reporter #13921
                 Missouri Certified Court Reporter #859
   20            Illinois Certified Shorthand Reporter
                 #084-004229
   21            Texas Certified Shorthand Reporter #9328
                 Kansas Certified Court Reporter #1715
   22            Notary Public
   23            Dated: December 6, 2016
   24
   25


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